Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 1 of 21




               EXHIBIT 2
                   Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 2 of 21
AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District
                                                     __________ Districtofof
                                                                           New  York
                                                                             __________
                  United States of America                                 )
                             v.                                            )
                      Ghislaine Maxwell
                                                                           )        Case No. 20CR330 (AJN)
                                                                           )
                             Defendant                                     )
                              SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR
                                         OBJECTS IN A CRIMINAL CASE
To:     Maria Farmer c/o Boies Schiller & Flexner, LLP

                                                      (Name of person to whom this subpoena is directed)

      YOU ARE COMMANDED to produce at the time, date, and place set forth below the following books, papers,
documents, data, or other objects:
                                                      See Attachment A


Place: Jeffrey S. Pagliuca                                                          Date and Time: 04/01/2021 1:00 pm
         Haddon, Morgan & Foreman, P.C.
         150 E. 10th Avenue, Denver, CO 80203

         Certain provisions of Fed. R. Crim. P. 17 are attached, including Rule 17(c)(2), relating to your ability to file a
motion to quash or modify the subpoena; Rule 17(d) and (e), which govern service of subpoenas; and Rule 17(g),
relating to your duty to respond to this subpoena and the potential consequences of not doing so.
           (SEAL)

Date:
                                                                                    CLERK OF COURT


                                                                                                Signature of Clerk or Deputy Clerk


The name, address, e-mail, and telephone number of the attorney representing (name of party)      Ghislaine Maxwell
                                                                                      , who requests this subpoena, are:
 Jeffrey S. Pagliuca, Haddon, Morgan & Foreman P.C., 150 East 10th Ave., Denver, Colorado 30203, 303.831.7364,
 jpagliuca@hmflaw.com

                                  Notice to those who use this form to request a subpoena
Before requesting and serving a subpoena pursuant to Fed. R. Crim. P. 17(c), the party seeking the subpoena is advised to
consult the rules of practice of the court in which the criminal proceeding is pending to determine whether any local rules
or orders establish requirements in connection with the issuance of such a subpoena. If no local rules or orders govern
practice under Rule 17(c), counsel should ask the assigned judge whether the court regulates practice under Rule 17(c) to
1) require prior judicial approval for the issuance of the subpoena, either on notice or ex parte 2) specify where the
documents must be returned (e.g., to the court clerk, the chambers of the assigned judge, or counsel’s office); and 3)
require that counsel who receives produced documents provide them to opposing counsel absent a disclosure obligation
under Fed. R. Crim. P. 16.

Please note that Rule 17(c) (attached) provides that a subpoena for the production of certain information about a victim
may not be issued unless first approved by separate court order.
                   Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 3 of 21
AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 2)

Case No. 20CR330 (AJN)

                                                             PROOF OF SERVICE

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                  .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                 on (date)                                    ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                             .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                    .

My fees are $                                   for travel and $                             for services, for a total of $          0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server’s signature



                                                                                               Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




        Print                        Save As...                   Add Attachment                                                     Reset
                   Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 4 of 21
AO 89B () Subpoena to Produce Documents, Information, or Objects in a Criminal Case (Page 3)



                        Federal Rule of Criminal Procedure 17 (c), (d), (e), and (g) (Effective 12/1/08)
(c) Producing Documents and Objects.

     (1) In General. A subpoena may order the witness to produce any books, papers, documents, data, or other objects the subpoena
     designates. The court may direct the witness to produce the designated items in court before trial or before they are to be offered in
     evidence. When the items arrive, the court may permit the parties and their attorneys to inspect all or part of them.

     (2) Quashing or Modifying the Subpoena. On motion made promptly, the court may quash or modify the subpoena if compliance
     would be unreasonable or oppressive.

     (3) Subpoena for Personal or Confidential Information About a Victim. After a complaint, indictment, or information is filed, a
     subpoena requiring the production of personal or confidential information about a victim may be served on a third party only by court
     order. Before entering the order and unless there are exceptional circumstances, the court must require giving notice to the victim so that
     the victim can move to quash or modify the subpoena or otherwise object.

(d) Service. A marshal, a deputy marshal, or any nonparty who is at least 18 years old may serve a subpoena. The server must deliver a copy
of the subpoena to the witness and must tender to the witness one day’s witness-attendance fee and the legal mileage allowance. The server
need not tender the attendance fee or mileage allowance when the United States, a federal officer, or a federal agency has requested the
subpoena.

(e) Place of Service.

     (1) In the United States. A subpoena requiring a witness to attend a hearing or trial may be served at any place within the United
     States.

     (2) In a Foreign Country. If the witness is in a foreign country, 28 U.S.C. § 1783 governs the subpoena's service.

(g) Contempt. The court (other than a magistrate judge) may hold in contempt a witness who, without adequate excuse, disobeys a subpoena
issued by a federal court in that district. A magistrate judge may hold in contempt a witness who, without adequate excuse, disobeys a
subpoena issued by that magistrate judge as provided in 28 U.S.C. § 636(e).
       Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 5 of 21

                                   ATTACHMENT A

                                        DEFINITIONS

1. “You” or “Your” means Maria Farmer.

2. “Envelopes” means the envelopes that You described in a podcast with Whitney Webb that
   aired on May 26, 2020 that You claimed “still have the touch DNA and fingerprints on them”
   of “Jeffrey and Ghislaine” and that you offered to the FBI but the FBI said “we don’t need
   it.” https://soundcloud.com/user-414392239/271-epstein-victim-maria-farmer-speaks-part-2-
   the-last-american-vagabond-whitney-webb.

3. “Physical Evidence” means the “hundreds of photographs,” “old diaries,” “telephone books,”
   “Rolodexes,” and “mementos . . . collected from [Your] time with Epstein and Maxwell” that
   You showed to Brad Edwards and/or Stanley Pottinger at Your Paducah, KY home in June
   2016, as described in excerpts from Relentless Pursuit, attached as Exhibit A.

4. “Contingent Fee Agreement or Engagement Agreement” means any writing describing the
   terms that You agreed to for legal services from any attorney as required by New York Rule
   of Professional Conduct 1.15 and 22 N.Y.C.R.R. Part 1215.

5. “EVCP Material” refers to any submission to the Epstein Victim’s Compensation Program
   made by You, any releases signed by You and/or the Epstein Victim’s Compensation
   Program, and any compensation received by You. The EVCP is described in Exhibit B.

                                           INSTRUCTIONS

1. Production of documents and items requested herein shall be made no later than April 1,
   2021, at 1:00 p.m. Except for the originals of the “Envelopes” and “Physical Evidence,” you
   may provide the records electronically by that date and time to Jeffrey S. Pagliuca or by such
   other method as agreed upon with counsel for the subpoenaing party.

2. This Request calls for the production of all responsive Documents in Your possession,
   custody or control without regard to the physical location of such documents.

3. If any Document was in your possession or control, but is no longer, state what disposition
   was made of said Document, the reason for the disposition, and the date of such disposition.

4. In producing Documents, if the original of any Document cannot be located, a copy shall be
   produced in lieu thereof, and shall be legible and bound or stapled in the same manner as the
   original.

5. Any copy of a Document that is not identical shall be considered a separate document.

6. All Documents shall be produced in the same order as they are kept or maintained by You in
   the ordinary course of business.

7. Responsive electronically stored information (ESI) shall be produced in its native form; that
   is, in the form in which the information was customarily created, used and stored by the
   native application employed by the producing party in the ordinary course of business.
       Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 6 of 21




8. Defendant does not seek and does not require the production of multiple copies of identical
   Documents.

9. Unless otherwise specified, the time frame of this request is from 1994 to present.

10. This Request is deemed to be continuing. If, after producing these Documents, you obtain or
    become aware of any further information, Documents, things, or information responsive to
    this Request, you are required to so state by supplementing your responses and producing
    such additional Documents to Defendant.

                         DOCUMENTS OR THINGS TO BE PRODUCED

1. Any Contingent Fee Agreement or Engagement Agreement between You and any attorney
   related to or concerning Your allegations against Ghislaine Maxwell or Jeffrey Epstein.

2. The original Envelopes for inspection and copying.

3. The Physical Evidence for inspection and copying.

4. “EVCP Material” for inspection and copying.
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 7 of 21




                    EXHIBIT A
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 8 of 21
      Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 9 of 21




DVKLVODZ\HU0DUW\:HLQEHUJZRXOGHDUQHVWO\FKDUDFWHUL]H(SVWHLQߞV
EHKDYLRUPRGLILFDWLRQDWKLVERQGKHDULQJLQIHGHUDOFRXUWLQ1HZ<RUNRQ
-XO\7KDWMXVWPHDQWWKDWKHWULHGKDUGHUQRWWRKDYHVH[ZLWK
FKLOGUHQDIWHUJHWWLQJLQWURXEOHLQ)ORULGDPDNLQJVXUHWKDWHDFKRIWKH
IHPDOHVUHFUXLWHGWRKLVKRXVHZDVDWOHDVWHLJKWHHQ\HDUVROG+LVDSSHWLWHGLG
QRWGLPLQLVKDWDOODQGWKHKDUPKHZDVFDXVLQJWRWKHVHEDUHO\OHJDOIHPDOHV
ZDVVLJQLILFDQW,QVRPHZD\VKLVVFKHPHVWROXUHWKHJLUOVLQWRKLVKRPHV
EHFDPHHYHQPRUHLQVLGLRXV+HWDUJHWHGYXQOHUDEOH\RXQJZRPHQZLWK
LPPLJUDWLRQSUREOHPVPHGLFDOSUREOHPVRUORIW\SURIHVVLRQDODPELWLRQVDQG
SURPLVHGWRPDNHWKHPOHJDOJHWWKHPWUHDWPHQWRUPDNHWKHLUHGXFDWLRQDO
RUSURIHVVLRQDOGUHDPVFRPHWUXH7KH\MXVWKDGWRGRDVKHVDLG:KLFK
ZKHWKHUWKH\OLNHGLWRUQRWZDVDOODERXWVH[



         7+,57<1,1(3$'8&$+
             $1'%(<21'

.12:,1*12:7+$7(367(,1:$6DFWLYHO\SXUVXLQJPLQRUVIRUVH[
LQWKHVZKHQ0D[ZHOOZDVZLGHO\NQRZQWREHZLWK(SVWHLQHYHU\GD\
,ORRNHGEDFNDWP\ILOHVWRORFDWHZLWQHVVHV,NQHZZHUHDOVRDURXQGWKHSDLU
GXULQJWKDWWLPHSHULRG0DULD)DUPHUKDGDVWDUE\KHUQDPHLQP\QRWHV,
KDGEHHQWROGE\DVRXUFHWKDWVKHKDGEHHQDVVDXOWHGE\ERWK(SVWHLQDQG
0D[ZHOO,QIDFWVKHZDVWKHYHU\ILUVWYLFWLPWRHYHUFRPHIRUZDUGDQG
UHSRUWWKHGXRWRODZHQIRUFHPHQWLQ
   ,WZDV-XQHDQG,UHDOO\ZDQWHGWRPHHWZLWK0DULDLQSHUVRQ6KH
ZDVVRPHRQH,KDGNQRZQDERXWIRUPDQ\\HDUVDQGKDGWULHGWRWUDFNGRZQ
     Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 10 of 21




LQWKHSDVW,KDGJRRGUHDVRQWREHOLHYHVKHKDGLQIRUPDWLRQRQ*KLVODLQHߞV
UROHLQUHFUXLWLQJJLUOVIRU(SVWHLQ7KLVW\SHRILQIRUPDWLRQZDVEHFRPLQJ
PRUHFUXFLDOWKDQHYHUEHFDXVHLWZDVDWWKHFHQWHURI9LUJLQLDߞVGHIDPDWLRQ
ODZVXLWDJDLQVW*KLVODLQH0D[ZHOO
   ,FDOOHGHYHU\QXPEHUIRU0DULDWKDW,FRXOGILQG,KDGP\LQYHVWLJDWRUV
FDOOHYHU\QXPEHUWKDWWKH\FRXOGILQG)LQDOO\0DULDFDOOHGPHEDFNDQGOHIW
PHDPHVVDJHVD\LQJWKDWVKHNQHZ,ZDVWU\LQJWRUHDFKKHU,UHWXUQHGKHU
FDOOLPPHGLDWHO\6KHVWDUWHGRIIE\WHOOLQJPHWKDWVKHKDGVSRNHQZLWK
9LFN\:DUGIURP9DQLW\)DLUDORQJWLPHDJREXWKHUH[SHULHQFHZDVQRW
LQFOXGHGLQ:DUGߞVVWRU\ZKLFKZDVGHYDVWDWLQJWRKHUDQGWKDWVKHUHDOO\
GLGQߞWNQRZZKHWKHUVKHVKRXOGWDONWRPH6KHKDGDOUHDG\VXIIHUHGPRUH
WKDQVKHFRXOGKDQGOHIURPKHUH[SHULHQFHVZLWK0D[ZHOODQG(SVWHLQ6KH
GLGQߞWNQRZPHDQGVKHFHUWDLQO\GLGQߞWWUXVWPH
   0DULDHYHQWXDOO\DJUHHGWKDWVKHZRXOGWDONWRPHEXWRQO\LQSHUVRQ6KH
JDYHPHKHUDGGUHVVLQ3DGXFDK.HQWXFN\7KLVZDVDWRZQDQGUHJLRQRI
WKHFRXQWU\WKDW,NQHZQRWKLQJDERXW,WROGKHU,ZRXOGJRWKHUHDQGVSHQG
DVORQJDV,QHHGHGIRUKHUWRKDYHWKHRSSRUWXQLW\WRWHOOPHHYHU\WKLQJ%\
WKHHQGRIWKHSKRQHFDOOZHKDGEXLOWDUDSSRUW
   /DWHUWKDWPRQWK,IOHZXSWRPHHWZLWKKHU7RJHWWKHUH,KDGWRIO\WR
1DVKYLOOHDQGGULYHRYHUWR3DGXFDK,VWD\HGLQWKHRQO\KRWHOWKDW,FRXOG
ILQGZLWKLQWHQPLOHVRIKHUKRXVHDQGSODQQHGWRPHHWZLWKKHUWKHQH[W
PRUQLQJ%\WKHWLPH,DUULYHGIRURXUPHHWLQJ0DULDKDGKXQGUHGVRI
SKRWRJUDSKVVSUDZOHGDFURVVKHUIORRU6KHKDGDOVRGXJRXWKHUROGGLDULHV
WHOHSKRQHERRNVDQG5RORGH[HV,WORRNHGOLNHVKHPLJKWKDYHVSHQWWKH
ZKROHQLJKWEHIRUHGLJJLQJWKLQJVRXWRIER[HVLQKHUFORVHW
   :HFKDWWHGIRURQO\DIHZPLQXWHVEHIRUHVKHODXQFKHGLQWRHYHU\WKLQJWKDW
VKHWKRXJKW,KDGFRPHWR3DGXFDKWRKHDUDQGVHH8QOLNHRWKHUZLWQHVVHV
ZKRZHUHFDJH\DQGUHOXFWDQWWRVKDUH0DULDZDVJUDWHIXOWKDW,KDGFRPHVR
     Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 11 of 21




IDUDQGVKHZDVUHDG\WRWHOOPHHYHU\WKLQJVKHNQHZ6KHKDGUHVHDUFKHGPH
EHIRUH,DUULYHGDQGNQHZDERXWDOOWKHZRUNWKDW,KDGGRQHWRVKHGOLJKWRQ
WKHFDVH6KHDGPLUHGWKDW,KDGJLYHQDYRLFHWRWKHYLFWLPVRISHRSOHZKRP
VKHIHOWZHUHWKHPRVWHYLOKXPDQEHLQJVRQWKHSODQHW,GLGQߞWIXOO\
DSSUHFLDWHKRZPXFKP\FRPPLWPHQWWRVHHLQJKHULQSHUVRQPHDQWWRKHU
XQWLO,XQGHUVWRRGKHUEDFNJURXQGDQGKRZ0D[ZHOODQG(SVWHLQKDGDIIHFWHG
KHUOLIHDQGKHUFDUHHU
   $GGLWLRQDOO\VKHKDGEHHQIHDUIXODERXWZKDW(SVWHLQPLJKWGRWRKHU
ZKHQ9LFN\:DUGKDGGLVFRYHUHGKHULQDQGVKHVWLOOIHOWVRPHRIWKDW
ZRUU\QRZ:KHQVKHGHFLGHVWRGRVRPHWKLQJ0DULDLVRQHRIWKHVHSHRSOH
ZKRLVDOOLQ6KHHLWKHUWUXVWV\RXRUVKHGRHVQߞW$IWHU9DQLW\)DLUEURNHKHU
WUXVWLWWRRNDORQJWLPHIRUKHUWRRSHQXSDJDLQ%XWVKHWRRNDFKDQFHZLWK
PH
   6KHWKLQNVIDVW$QGWDONVIDVW6KHߞVDQHFFHQWULFDUWLVWZKRFHUWDLQO\
GRHVQߞWWKLQNOLNHDODZ\HUZKLFKDOORZHGKHUWRVKDUHKHUZKROHQDUUDWLYH
UDWKHUWKDQRQO\WKHVSHFLILFVWKDWDODZ\HUZRXOGQHHGWRNQRZ0DULDDQG,
VSHQWKRXUVWKDWGD\JRLQJWKURXJKSKRWRVDQGRWKHUPHPHQWRVVKHKDG
FROOHFWHGIURPKHUWLPHZLWK(SVWHLQDQG0D[ZHOO
   0DULDZDVLQKHUHDUO\WZHQWLHVZKHQVKHPHW1HZ<RUNVRFLDOLWH(LOHHQ
*XJJHQKHLP XQUHODWHGWRWKH*XJJHQKHLP0XVHXP (LOHHQUHFRJQL]HG
0DULDߞVH[WUDRUGLQDU\DUWLVWLFDELOLWLHV:KLOH0DULDZDVLQDUWVFKRRO(LOHHQ
JRWKHUDMREZLWKKHUVLVWHU%DUEDUD*XJJHQKHLPZKRLVPDUULHGWRWKH
VXFFHVVIXOHQWHUWDLQPHQWODZ\HU%HUW)LHOGV0DULDZDVKLUHGE\%DUEDUDDQG
%HUWWRSHUIRUPPXQGDQHWDVNVDURXQGWKHLUKRPHLQ1HZ<RUN:DQWLQJWR
KHOSKHUILQGDMRELQKHUFKRVHQILHOG%XUWRU(LOHHQVSRNHWR(SVWHLQ
EHFDXVHKHZDVNQRZQDVDQDUWDILFLRQDGRZKRFRXOGQRGRXEWDGYDQFH
0DULDߞVDUWLVWLFFDUHHU6XUHHQRXJK(SVWHLQFDOOHG0DULDDQGRIIHUHGKHUD
MREDWKLVPDQVLRQLQ1HZ<RUN&LW\:KLFKLQWXUQOHGWR0DULDߞV
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 12 of 21




                     EXHIBIT B
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 13 of 21
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 14 of 21
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 15 of 21
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 16 of 21
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 17 of 21
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 18 of 21
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 19 of 21
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 20 of 21
Case 1:20-cr-00330-AJN Document 336-2 Filed 09/07/21 Page 21 of 21
